            Case 9:16-bk-06499-FMD         Doc 72     Filed 03/10/17       Page 1 of 3



                        UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION


IN RE:

CHRIS E. CARHART,
                                                     CASE NO. 9:16-bk-06499-FMD
                             Debtor.                 CHAPTER 7
                                           /

       DEBTOR’S RESPONSE TO MOTION TO COMPEL FED.R.BANKR.PRO.
            2004 PRODUCTION OF DOCUMENTS AND EXAMINATION
                      TESTIMONY OF KEXIN CARHART

       NOW   COMES     Debtor,    CHRIS         E.   CARHART,        by    and    through    his

undersigned         counsel,    and    in        response       to     Motion       to    Compel

Fed.R.Bankr.Pro.        2004     Production          of   Documents         and    Examination

Testimony of Kexin Carhart (DE 65), states as follows:

       1.     The     Creditors,       Christopher              G.        Halaska,       Halaska

International,         Inc.     and        Carhart-Halaska            International          LLC

(“Creditors”)         have     filed       a    Motion     to        Compel       pursuant   to

Fed.R.Bankr.Pro.        2004     Production          of   Documents         and    Examination

Testimony of Kexin Carhart.                    The relief is in basically two (2)

part; Paragraph 9 as to production of documents and Paragraph 11 as

to testimony.

       2.    A review of Paragraph 9 and its many subparts indicates

that   the     deponent       filed    a       written    response          to    the    written

production of documents and objected to the production properly and

stated that it was beyond the standard scope of a 2004 examination.

The Debtor agrees with the deponent as each of the requests relates

to the deponent’s personal assets and not that of the Debtor.
          Case 9:16-bk-06499-FMD   Doc 72   Filed 03/10/17   Page 2 of 3



     3.    An example of this is Paragraph 9a asking for:

     “Any and all documents evidencing or related to any
     income you earned over the past four years.”

As can be seen, this request is for the deponent’s personal assets,

not the Debtor’s.     A review of the remainder of the requests shows

the same deficiency.

     4.    As to the testimony issue in Paragraph 11, there is no

2004 examination transcript attached to the Motion.                   This Court

cannot make a determination as to whether or not the questions

relate to those they will now ask were properly asked at the 2004

examination and whether a refusal was made by the deponent.                   In

addition, a review of the areas of questioning such as:

     “11f. Whether she used or transferred funds from Carhart,
     Inc. to a personal account;

     “11k. How much money she has given to her husband over
     the last two years.”

These   questions    appear   to   be   beyond    the   scope    of    the   2004

examination and not relevant.

     5.   The undersigned counsel attended the 2004 examination and

does not remember any question that was asked regarding the Debtor

and was not answered by the deponent.

     6.    Until such time as there is a transcript, the Debtor does

not believe this Court can make a proper determination as to

whether or not the deponent properly answered any question.

     7. This deponent resides not only in Florida but also resides

in China and, as such, is an extreme expense to have her return.

     WHEREFORE, Debtor, CHRIS E. CARHART, requests this Court to
           Case 9:16-bk-06499-FMD          Doc 72    Filed 03/10/17   Page 3 of 3



deny the Motion to Compel Fed.R.Bankr.Pro. 2004 Production of

Documents and Examination Testimony of Kexin Carhart, and for such

other and further relief as the Court deems just and proper.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing

has been furnished to the U.S. Trustee, 501 E. Polk Street, Suite

1200, Tampa, FL 33602, Robert E. Tardif, Jr., Trustee, P.O. Box

2140, Fort Myers, FL 33902, John S. Biallas, Esquire, 3N918 Sunrise

Lane, St. Charles, IL 60174, Stephanie C. Lieb, Esquire, 101 E.

Kennedy Boulevard, Suite 2700, Tampa, FL 33602 and Nathaniel Cade,

Jr., Esquire, P.O. Box 170887, Milwaukee, WI 53217, by first class

U.S. Mail, postage fully prepaid or by electronic notice, this 10th

day of      March , 2017.


                                             MILLER, HOLLANDER & JEDA
                                             Attorneys for Debtor
                                             2430 Shadowlawn Drive, Suite 18
                                             Naples, FL 34112
                                             Telephone 239-775-2000
                                             Facsimile 239-775-7953



                                             By: /S/ RICHARD J. HOLLANDER
                                                  RICHARD J. HOLLANDER
                                                  Florida Bar No. 884900
                                                  MELISSA H. JEDA
                                                  Florida Bar No. 106407




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